i •'   Case 1:13-cr-00667-ENV             Document 46           Filed 09/18/14           Page 1 of 7 PageID #: 224



       UNITED STATES DISTRICT COURT                                        .
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       EASTERN DISTRICT OF NEW YORK                                      U.S. DISTR1r-· ~---- '"T r;.o.N.v.
       --------------------------------------------------------------x*' SP~ 1 7 2014
       UNITED STATES OF AMERICA,                                     :
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                                                                     : BROO;-.:t..:fN OFFICE

                                                                               MEMORANDUM & ORDER
                       -against-
                                                                               13-CR-667 (ENV)
       HAROLD BOWENS,

                                                Defendant.


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       VITALIANO, D.J.,

               Defendant Harold Bowens is named, along with Henry Kanagbou, in a 3-

       count indictment charging both defendants with conspiracy to import cocaine,

       conspiracy to possess cocaine with intent to distribute, and attempted possession of

       cocaine with intent to distribute. By motion, dated August 20, 2014, Bowens, relying

       on the Fourth Amendment, seeks to suppress post-arrest statements he made and

       evidence that was seized from his person following his arrest, on the ground that the

       arresting agents lacked probable cause for that arrest. No argument was advanced

       that the statements made by Bowens were obtained in violation of any right under

       the Fifth Amendment. See Defendant's Memorandum of Law in Support of Motion

       to Suppress ("Def. Mem."), dkt. #33, at 4-6. The government submitted papers in

       opposition to the suppression motion on August 26, and, on September 3, the Court

       heard oral argument. At that argument, Bowens's counsel agreed with the

       government that a fact hearing was not necessary to resolve the probable cause issue



                                                            1
Case 1:13-cr-00667-ENV    Document 46     Filed 09/18/14   Page 2 of 7 PageID #: 225



the motion had raised. Bowens's counsel declined the Court's invitation to file a

formal reply brief on this issue. (See September 4, 2014 Order.) For the reasons

discussed below, Bowens's motion to suppress is now denied.

                                    Background

      The facts pertinent to this case, which were proferred by the defendant and

the government in their motion papers and at oral argument, are not in serious

dispute. The Court finds them as outlined below and concludes that the government

has established them upon a preponderance of the proffered evidence.

      On October 1, 2013, an arriving airline passenger, who would become a

confidential witness ("CW"), was detained by Homeland Security Investigations

("HSI") agents at JFK airport. The CW admitted to having swallowed 126 pellets

containing cocaine-later determined to weigh approximately 1.5 kilograms. See

Def. Mem. at 2. After agreeing to cooperate with HSI, the CW acknowledged that

he had made multiple prior trips from Jamaica to New York for the purpose of

transporting cocaine. Id. During these prior trips, upon arrival in New York, the

CW would contact an intermediary named "Dennis", who would set up a

rendezvous for the CW with one or two individuals at which the imported cocaine

would be transferred. Id. at 2-3. In each prior instance, the drug transfer occurred

at a mall in Valley Stream in Nassau County. See Complaint, 8; Memorandum of

Law in Opposition to Motion to Suppress ("Gvt. Mem."), dkt. # 36, at 1-2.

      On October 3, 2013, the CW, working with the agents, spoke on the phone

with "Dennis", and was given the telephone number of the individual to whom he

was supposed to deliver the cocaine. Def. Mem. at 2-3. That individual was later


                                          2
Case 1:13-cr-00667-ENV      Document 46     Filed 09/18/14   Page 3 of 7 PageID #: 226



identified as co-defendant Kanagbou. Id. The CW spoke on the phone twice with

Kanagbou-at approximately 12:10 p.m. and 1:05 p.m.-and, during these calls,

Kanagbou told the CW to meet him at the Valley Stream mall and that he would

arrive in a white Nissan. See Def. Mem. at 3; Gvt. Mem. at 2. At the September 3

hearing, the government proffered that relevant phone conversations between the

CW and Kanagbou were in English. 1

       At approximately 1:15 p.m., agents accompanying the CW at the Valley

Stream mall observed a white Nissan, with Maryland license plates, pull into the

parking lot. Def. Mem. at 2-3; Complaint 'If 10; Gvt. Mem. at 2. The CW identified

the driver of the vehicle as Kanagbou, 2 an individual to whom he had given cocaine

previously, but advised that he did not recognize the passenger-who, as made

obvious by this motion, was Bowens. Gvt. Mem. at 2. After parking, Bowens exited

the car and walked into the mall. Def. Mem. at 3. At that point, the CW

approached the car, got in, and gave the fake cocaine provided by HSI to Kanagbou.

The CW then got out of the Nissan. Id.; Gvt. Mem. at 2-3. A few minutes later,

Bowens returned to the car and got in through the passenger's side door. Def. Mem.

at 3; Gvt. Mem. at 3. At that point, the agents approached the car and ordered both

Kanagbou and Bowens to get out. Agents asked who owned the car, and Bowens

admitted that he did. Gvt. Mem. at 3. Agents then arrested both men. Id.

    Although the specific words used in those conversations are not before the Court
    for purposes of this motion (only the proffer as to the conversations is), the Court
    notes that the government did submit-after the September 3 hearing-both
    recordings and transcripts of the conversations between Kanagbou and the CW.
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    The evidentiary record is silent as to whether the CW identified Kanagbou by
    name.


                                           3
Case 1:13-cr-00667-ENV      Document 46       Filed 09/18/14   Page 4 of 7 PageID #: 227



      Following his arrest, agents advised Bowens of his Miranda rights using a

Department of Homeland Security rights advisement form. Gvt. Mem. Ex. 1.

Bowens read and signed the form stating that he was willing to answer questions

without an attorney present. Id. He then confessed that Kanagbou had paid him

$400 to drive Kanagbou from Maryland to New York to pick up drugs. Id.; Def.

Mem. Ex. C (HSI Report of Investigation). At this point, Bowens also authorized

the agents to search the contents of his cellphone. Gvt. Mem. Ex. 1. Bowens now

moves to suppress his post-arrest statements and cell phone evidence on the grounds

that the HSI agents lacked probable cause to arrest him.

                                      Analysis

      Suppression, Bowens urges, is required because his warrantless arrest

violated the Fourth Amendment. "A warrantless arrest is unreasonable under the

Fourth Amendment unless the arresting officer has probable cause to believe a

crime has been or is being committed." United States v. Rodriguez, 536 F.3d 155,

158 (2d Cir. 2008). Probable cause exists where the arresting officer has

"knowledge or reasonably trustworthy information ... sufficient to warrant a

person of reasonable caution in the belief that the person to be arrested has

committed or is committing a crime." Walxzyk v. Rio, 496 F.3d 139, 156 (2d Cir.

2007). This standard is a "practical" one that analyzes the "factual and practical

considerations of everyday life on which reasonable and prudent men, not legal

technicians, act." Marvland v. Pringle, 540 U.S. 366, 270 (2003).

      Bowens contends that the HSI agents lacked probable cause for his arrest

because he never communicated directly with the CW, and because he was not in


                                          4
Case 1:13-cr-00667-ENV      Document 46         Filed 09/18/14   Page 5 of 7 PageID #: 228



the car when the CW gave the fake drugs to Kanagbou. Def. Mem. at 3-4. The

agents, Bowens argues, had no reason to believe that he was anything other than an

innocent bystander. The argument, however, strays far from reality.

       First off, agents observed Bowens arrive at the Valley Stream mall in a

vehicle, with out-of-state Maryland license plates, driven by Kanagbou, at a location

hours away from the car's state of vehicle registration. Gvt. Mem. at 2. The CW, as

the agents knew, had been in communication with the later-identified Kanagbou

about picking up the cocaine. Id.; Def. Mem. at 3. The CW, waiting with the

agents, then positively identified Kanagbou upon his arrival at the mall. Gvt. Mem.

at 2. That Bowens did not personally communicate with the CW, and that he was

not physically present at the exact moment of the "drug" exchange, do not negate

the existence of probable cause for his arrest arising out of his joint travel with

Kanagbou. Plainly, the Supreme Court has stated, in the context of the probable

cause inquiry, that "a car passenger ... will often be engaged in a common

enterprise with the driver, and have the same interest in concealing the fruits or the

evidence of their wrongdoing." Wyoming v. Houghton, 526 U.S. 295, 304-05 (1999).

Instructively, "the Supreme Court has also said that it is reasonable to infer that if

one person in a vehicle is engaged in drug dealing, so are the other passengers,

because drug dealing is 'an enterprise to which a dealer would be unlikely to admit

an innocent person with the potential to furnish evidence against him."' Rodriguez

at 159, quoting Pringle at 373.

      Simply, the totality of circumstances here demonstrate that the HSI agents

had probable cause to arrest Bowens. They had observed him arrive at the Valley


                                            5
Case 1:13-cr-00667-ENV       Document 46        Filed 09/18/14   Page 6 of 7 PageID #: 229



Stream mall with Kanagbou, who they knew had been traveling for some time in a

car and who had just arranged a drug deal with the CW on a mobile telephone. The

CW and the agents were waiting precisely where and when Kanagbou had

instructed-exactly where Bowens arrived with Kanagbou. Those phone

conversations were in English, and, in the confines of a moving car, the agents could

have reasonably concluded that Bowens was aware of the phone discussions setting

up the meet. From those circumstances, the agents could have reasonably inferred

that Bowens was a participant in a drug conspiracy, given that Kanagbou felt free to

discuss the deal in his presence. The Maryland tags on the car, Bowens's admission

that he owned the car, and the knowledge that Kanagbou was traveling for a while

to get to Valley Stream only tended to confirm the conclusion that Bowens was in on

the deal.

       Relying on Ybarra v. Illinois, 444 U.S. 85 (1979), the defense, essentially, rests

on a theory of "mere presence"-that Bowens was merely present at a "premises"

where a drug deal occurred (and only immediately before and after it had occurred

at that), which, Bowens urges, does not supply probable cause to arrest him in

connection with that drug deal. See Def. Mem. at 4-6. Defendant's blurred vision

misperceives the totality of circumstances. The argument entirely overlooks the

facts that (1) Bowens admitted to the HSI agents prior to his arrest that he actually

owned the "premises" (a small car that could fit a few occupants at most), and (2),

based on the timing of the telephone calls between Kanagbou and the CW, the

agents knew that both car and passengers had traveled for at least an hour (and that

the car had out-of-state license plates) to a mall in Valley Stream to conduct a drug


                                            6
Case 1:13-cr-00667-ENV     Document 46      Filed 09/18/14   Page 7 of 7 PageID #: 230



deal that had been openly discussed by mobile phone en route. The fact that

Bowens appeared to strategically absent himself in the short period precisely when

the drug deal pre-arranged by phone conversations Bowens had to have overheard

took place (in the premises Bowens owned) does not amount to mere presence nor

does it undermine probable cause. See United States v. Montana, 958 F.2d 516, 519

(2d Cir. 1992) (finding, in controlled delivery case, that defendant's presence at the

agreed-upon location established "probable cause to believe that [defendant] was a

knowing participant in the drug pickup").

                                      Conclusion

      For these reasons, Bowens's motion to suppress his post-arrest statements

and the property seized from him is denied.



             SO ORDERED.

Dated:       Brooklyn, New York
             September 17, 2014
                                                      s/Eric N. Vitaliano
                                                   ERIC N. vfT ALIANO
                                                   United States District Judge




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